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                          United States District Court
                                          Western District of Wisconsin
                   UNITED STATES OF AMERICA                        AM ENDED JUDGM ENT IN A CRIM INAL CASE
                                                                     (for offenses committed on or after November 1, 1987)
                                                                                    RE-SENTENCING

                                  V.                                        Case Number:            06-CR-174-C-02

                           GREGORY J. BURKS                         Defendant's Attorney:           Erika L. Bierm a




The defendant, Gregory J. Burks, pleaded guilty to count 1 of the indictm ent.

ACCORDINGLY, the court has adjudicated defendant guilty of the following offense(s):
                                                                                                 Date Offense            Count
Title & Section       Nature of Offense                                                          Concluded             Num ber(s)
21 U.S.C. § 841(a)(1) Possession W ith Intent to Distribute 5 Gram s or More of                  May 24, 2006              1
and 18 U.S.C. § 2     Cocaine Base (Crack Cocaine), a Schedule II Controlled
                      Substance (aiding and abetting); a Class B felony


The defendant is sentenced as provided in pages 2 through 6 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin 30 days
of any change of nam e, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgm ent are fully paid. If ordered to pay restitution, the defendant shall notify the court and United
States Attorney of any material change in the defendant’s econom ic circum stances.




  Defendant's Date of Birth:             July 21, 1984                                                March 6, 2009
                                                                                             Date of Imposition of Judgment
  Defendant's USM No.:                   06356-090

  Defendant's Residence Address:         c/o Shavon Burks
                                         2467 Park Place
                                         Madison, WI 53713                                            /s/ Barbara B. Crabb
                                                                                                    Barbara B. Crabb
  Defendant's Mailing Address:           c/o Bureau of Prisons
                                                                                                     District Judge

                                                                                                      March 9, 2009
                                                                                                       Date Signed:
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                                                 IMPRISONMENT
As to the one-count indictm ent, it is adjudged that defendant is com m itted to the custody of the Bureau of Prisons for
im prisonm ent for a term of 150 m onths.


I recom m end that defendant be afforded the opportunity to participate in the Bureau of Prisons’ residential substance abuse
treatm ent program and that he be placed in a residential re-entry center prior to release, with work release privileges.




                                                          RETURN
      I have executed this judgment as follow s:




      Defendant delivered on                                    to

at                                 , with a certified copy of this judgm ent.




                                                                                  UNITED STATES MARSHAL
                                                        By
                                                                                      Deputy Marshal
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                                             SUPERVISED RELEASE
The term of im prisonm ent is to be followed by a five-year term of supervised release subject to the standard conditions.

Defendant shall report to the probation office in the district to which defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

Defendant shall not com m it another federal, state, or local crim e.

Defendant shall not illegally possess a controlled substance.

If defendant has been convicted of a felony, defendant shall not possess a firearm , destructive device, or other dangerous
weapon while on supervised release.

Defendant shall cooperate with the collection of DNA by the U.S. Justice Departm ent and/or the U.S. Probation and Pretrial
Services Office as required by Public Law 108-405.

If this judgm ent im poses a fine or a restitution obligation, it shall be a condition of supervised release that defendant pay any
such fine or restitution that rem ains unpaid at the com m encem ent of the term of supervised release in accordance with the
Schedule of Paym ents set forth in the Financial Penalties sheet of this judgm ent.

Defendant shall com ply with the standard conditions that have been adopted by this court (set forth on the next page).

In light of the nature of the offense and defendant’s history of substance abuse, the following special conditions are appropriate.
Defendant is to:

(1)   Provide the supervising U.S. probation officer any and all requested financial inform ation, including copies of state and
      federal tax returns;

(2)   Register with local law enforcem ent agencies and the state attorney general as directed by the supervising U.S. probation
      officer;

(3)   Abstain from the use of alcohol and illegal drugs and from association with drug users and sellers and participate in
      substance abuse treatm ent. Defendant shall subm it to drug testing beginning within 15 days of his release and 60 drug
      tests annually thereafter. The probation office m ay utilize the Adm inistrative Office of the U.S. Courts’ phased collection
      process; and

(4)   Subm it his person, property, residence, office or vehicle to a search conducted by a U.S. probation officer at a reasonable
      tim e and in a reasonable m anner, whenever the probation officer has reasonable suspicion of contraband or of the
      violation of a condition of release; failure to subm it to a search m ay be a ground for revocation; defendant shall warn any
      other residents that the prem ises he is occupying m ay be subject to searches pursuant to this condition.
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                                  STANDARD CONDITIONS OF SUPERVISION
    1)   Defendant shall not leave the judicial district without the perm ission of the court or probation officer;

    2)   Defendant shall report to the probation officer as directed by the court or probation officer and shall subm it a
         truthful and com plete written report within the first five days of each m onth;

    3)   Defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

    4)   Defendant shall support his or her dependents and m eet other fam ily responsibilities;

    5)   Defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

    6)   Defendant shall notify the probation officer at least ten days prior to any change in residence or em ploym ent;

    7)   Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or
         adm inister any narcotic or other controlled substance, or any paraphernalia related to such substances except as
         prescribed by a physician;

    8)   Defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         adm inistered;

    9)   Defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any
         person convicted of a felony unless granted perm ission to do so by the probation officer;

  10)    Defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it
         confiscation of any contraband observed in plain view by the probation officer;

  11)    Defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcem ent officer;

  12)    Defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent
         agency without the perm ission of the court;

  13)    As directed by the probation officer, defendant shall notify third parties of risks that m ay be occasioned by
         defendant's crim inal record or personal history or characteristics, and shall perm it the probation officer to m ake
         such notifications and to confirm defendant's com pliance with such notification requirem ent.
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                                    CRIMINAL MONETARY PENALTIES
Defendant shall pay the following total financial penalties in accordance with the schedule of paym ents set forth below.


                           Count       Assessment              Fine                   Restitution

                              1        $100.00                 $0.00                  $0.00

                            Total      $100.00                 $0.00                  $0.00



Further, it is adjudged that defendant is to pay a $100 crim inal assessm ent penalty to the Clerk of Court for the W estern District
of W isconsin im m ediately following sentencing.

Defendant does not have the m eans to pay a fine under § 5E1.2(c) without im pairing his ability to support him self and his son
upon release.
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                                          SCHEDULE OF PAYMENTS
Paym ents shall be applied in the following order:
                                                         (1) assessm ent;
                                                         (2) restitution;
                                                         (3) fine principal;
                                                         (4) cost of prosecution;
                                                         (5) interest;
                                                         (6) penalties.


The total fine and other m onetary penalties shall be due in full im m ediately unless otherwise stated elsewhere.




Unless the court has expressly ordered otherwise in the special instructions above, if the judgm ent im poses a period of
im prisonm ent, paym ent of m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary penalties,
except those paym ents m ade through the Federal Bureau of Prisons’ Inm ate Financial Responsibility Program , are m ade to
the clerk of court, unless otherwise directed by the court, the probation officer, or the United States Attorney.

The defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.

In the event of a civil settlem ent between victim and defendant, defendant m ust provide evidence of such paym ents or
settlem ent to the Court, U.S. Probation office, and U.S. Attorney’s office so that defendant’s account can be credited.
